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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

UNITED STATES OF AMERICA                 )
                                         )
                                         )
                                         )
                    v.                   )
                                         ) 2:19-cr-00126-JDL
MICHAEL CURTIS PEAVY-                    )
WRIGHT,                                  )
                                         )
      Defendant.                         )


          ORDER ON THE DEFENDANT’S MOTION TO SUPPRESS

      Michael Curtis Peavy-Wright is charged with possessing a controlled

substance with intent to distribute, in violation of 21 U.S.C.A. § 841(a)(1) (West 2019).

Peavy-Wright moves to suppress all evidence obtained from a search of his person by

police (ECF No. 36). For the following reasons, I deny the motion.

                                      I. FACTS

      On February 22, 2019, at 2:14 a.m. on Interstate 95 near the York Toll Plaza,

Maine State Police Trooper Jesse Duda initiated a traffic stop of a Ford F150 pickup

truck because the vehicle’s registration had expired.        The truck contained four

occupants: the driver and three passengers, including Peavy-Wright. When Trooper

Duda approached the truck, he observed that Peavy-Wright, who was sitting in the

rear driver’s-side seat, was not wearing a seatbelt. He also observed a marijuana

pipe in the front of the vehicle and smelled the odor of burnt marijuana.

      Trooper Duda asked the driver for her license and the truck’s registration. She

provided her license, which indicated that she was from Presque Isle, Maine—an

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approximately five-hour drive from where the truck was stopped.1 The driver was

unable to locate the truck’s registration, stating that she was not the owner of the

vehicle. Trooper Duda also asked the passengers, including Peavy-Wright, if they

had identification, and each indicated that they did not. At this point, Trooper Duda

asked the driver to step out of the truck, and he returned to his vehicle with her. He

questioned the driver about why she had the truck and where she was going. She

indicated that she and the passengers lived in Presque Isle, that they had all driven

down from Bangor that night to pick up the truck at the Kittery rest area on I-95,

and that they were on their way back to Bangor when they got pulled over. When

asked to name the passengers in the truck, the driver identified Peavy-Wright as

“Louie.” During the conversation, Trooper Duda ran the driver’s license through a

law enforcement database and discovered that she was the subject of a narcotics

investigation in Maine.

        At approximately 2:21 a.m., while Trooper Duda was questioning the driver,

Sergeant Thomas Pappas arrived. He approached the truck, saw the passengers still

seated, and noticed that Peavy-Wright was not wearing a seatbelt. Sergeant Pappas

asked the passengers for identification, and they responded that they did not have

any. Sergeant Pappas then asked the passengers to write down their names and

dates of birth. Peavy-Wright wrote that his name was “Michael Wright.” When

Sergeant Pappas asked Peavy-Wright where his “license [was] out of,” Peavy-Wright



 1  I take judicial notice of this undisputed geographical fact. See Rooney v. Sprague Energy Corp., 495 F. Supp.
2d 135, 137 (taking judicial notice of how long it would take to drive between two towns in Maine); see also Saco
v. Tug Tucana Corp., 483 F. Supp. 2d 88, 93 n.4 (D. Mass. 2007) (taking judicial notice of driving distances
reflected on mapquest.com).

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stated, “Mass.” Sergeant Pappas then followed up by asking, “Mass.? What part?”

Peavy-Wright responded, “Kittery.” Sergeant Pappas testified that he immediately

knew that this was untrue because Kittery is a town in Maine, not Massachusetts.2

At this point, Sergeant Pappas asked Peavy-Wright to step out of the truck. He asked

for permission to pat down Peavy-Wright, which Peavy-Wright provided. Sergeant

Pappas then conducted a patdown search of Peavy-Wright’s chest, waist area, and

pant-legs. The patdown did not yield any weapons or contraband.

        Sergeant Pappas then continued to question Peavy-Wright about his identity.

Sergeant Pappas told Peavy-Wright that the driver had identified him as “Louie,”

and Peavy-Wright responded that his name was “Michael Wright,” not “Louie.”

Sergeant Pappas asked for Peavy-Wright’s middle name, and Peavy-Wright stated

that it was “Curtis.” Sergeant Pappas attempted to verify Peavy-Wright’s identity

through a law enforcement database, but the database did not return any matches

for a “Michael Wright” with the date of birth that Peavy-Wright had provided. The

database did, however, return matches for the names of the other two passengers in

the truck.         Peavy-Wright explained that in his past interactions with law

enforcement, officers had been unable to verify his identity. He further informed

Sergeant Pappas that his last valid identification card had been issued in Ohio and

suggested that a search of Ohio records might verify his identity.

        Meanwhile, Trooper Duda had his trained K-9 partner, “Mack,” perform a dog

sniff of the truck. Mack alerted to the odor of narcotics on the truck. Trooper Duda


 2 I take judicial notice of this undisputed geographical fact. See Fecho v. Eli Lilly & Co., 914 F. Supp. 2d 130,

134 n.4 (D. Mass. 2012) (noting that “[g]eography has long been peculiarly susceptible to judicial notice for the
obvious reason that geographic locations are facts which are not generally controversial” (quoting United States
v. Bello, 194 F.3d 18, 23 (1st Cir. 1999))).
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then walked over to Sergeant Pappas’ vehicle and spoke briefly with Sergeant Pappas

and Peavy-Wright. Trooper Duda asked Peavy-Wright why the driver had referred

to him as “Louie,” and Peavy-Wright explained that he had gotten the nickname

“Louie” from wearing Louis Vuitton clothing. Trooper Duda also asked Peavy-Wright

about his travel plans, and Peavy-Wright stated that he had been picked up in

Portland and was heading back to Portland.

      After this brief interaction with Trooper Duda, Peavy-Wright volunteered to

Sergeant Pappas for the first time that his last name was not “Wright” but “Peavy-

Wright.” He also explained that, on previous occasions, police officers had been

unable to identify him in law enforcement databases under the name “Wright” but

had been successful when searching for him under the name “Peavy-Wright.”

Sergeant Pappas then attempted to verify Peavy-Wright’s identity based on this new

information. Peavy-Wright also reiterated that his last valid identification card was

issued in Ohio, offered to provide his social security number, and indicated that

Portland Police Department had verified his identity during a stop in South Portland

in 2018.    When Sergeant Pappas misspelled “Peavy-Wright” during a radio

communication, Peavy-Wright informed Sergeant Pappas of the correct spelling.

      Two minutes later, after eighteen total minutes of fruitless efforts to verify

Peavy-Wright’s identity, Sergeant Pappas told Peavy-Wright, “You’re just going to be

detained right now at this point. I have no idea who you are. Put your hands right

behind your back. You’re not wearing a seatbelt. You’re telling me you live in Kittery,

Massachusetts.” Sergeant Pappas placed Peavy-Wright in handcuffs and engaged in

a probing search of Peavy-Wright’s waist and groin area. Sergeant Pappas testified

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that he did not limit himself to the scope of a patdown but conducted a “full search

incident to arrest.” During the search, Sergeant Pappas felt an object in Peavy-

Wright’s groin area and manipulated the object out of Peavy-Wright’s pants so as to

remove it without reaching inside. The object was a package of narcotics, which was

later determined to be fentanyl, or a mixture containing primarily fentanyl.

      Shortly after the search, Sergeant Pappas became aware of Ohio records

confirming that Peavy-Wright was “Michael Curtis Peavy-Wright,” and that Peavy-

Wright had accurately reported his date of birth.

                               II. LEGAL ANALYSIS

      The Fourth Amendment guarantees “[t]he right of the people to be secure in

their persons, houses, papers, and effects, against unreasonable searches and

seizures.” U.S. Const. amend. IV. In general, a search must be supported by a valid

warrant in order to be reasonable. See Mitchell v. Wisconsin, 139 S. Ct. 2525, 2534

(2019). If a search of the person is conducted without a warrant, the search “is

reasonable only if it falls within a recognized exception” to the warrant requirement.

Missouri v. McNeely, 569 U.S. 141, 148 (2013) (citing United States v. Robinson, 414

U.S. 218, 224 (1973)); see also Mitchell, 139 S. Ct. at 2534.

A.    Full Search

      Peavy-Wright argues that the full search of his person was unreasonable under

the Fourth Amendment, and that all evidence discovered during and as a result of

the search must be suppressed.        The Government argues that the search was

reasonable under the Fourth Amendment because it was a valid search incident to

arrest.   A search incident to a lawful arrest is an exception to the warrant

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requirement. Riley v. California, 573 U.S. 373, 382–85 (2014); see also Mitchell, 139

S. Ct. at 2543. Thus, police may conduct a “full search of the person” pursuant to a

lawful arrest, even without a warrant. Birchfield v. North Dakota, 136 S. Ct. 2160,

2175−76 (2016) (citing Robinson, 414 U.S. at 235).

       An arrest is lawful “if the officer ‘has probable cause to believe that an

individual has committed a criminal offense in his presence.’” United States v. Flores,

888 F.3d 537, 543 (1st Cir. 2018) (alterations omitted) (quoting Atwater v. City of Lago

Vista, 532 U.S. 318, 354 (2001)). “Probable cause exists when police officers, relying

on reasonably trustworthy facts and circumstances, have information upon which a

reasonably prudent person would believe the suspect had committed or was

committing a crime.” United States v. Pontoo, 666 F.3d 20, 31 (1st Cir. 2011) (quoting

United States v. Young, 105 F.3d 1, 6 (1st Cir. 1997)). Probable cause is a “fluid

concept” that must be evaluated upon the totality of the circumstances. Illinois v.

Gates, 462 U.S. 213, 231−32 (1983). “It ‘requires only the kind of fair probability on

which reasonable and prudent people, not legal technicians, act.’” United States v.

Rasberry, 882 F.3d 241, 250 (1st Cir. 2018) (alterations omitted) (quoting Kaley v.

United States, 571 U.S. 320, 338 (2014)), cert. denied, 139 S. Ct. 591 (2018). When

reviewing the existence of probable cause, courts look to the “collective knowledge”

available to all officers participating in the investigation rather than isolating the

information known by the individual officer who makes the arrest. United States v.

Azor, 881 F.3d 1, 8 (1st Cir. 2017), cert. denied, 138 S. Ct. 2593 (2018); see also Illinois

v. Andreas, 463 U.S. 765, 771 n.5 (1983) (“[W]here law enforcement authorities are

cooperating in an investigation, . . . the knowledge of one is presumed shared by all.”).

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        The Government argues that at the time of the search there was probable

cause to arrest Peavy-Wright for violating Maine’s stop-and-identify law, 29-A

M.R.S.A. § 105(4) (West 2019), which provides that “[a] person is guilty of a Class E

crime” if (1) “a law enforcement officer has probable cause to believe the person

violated or is violating [Title 29-A],” and (2) “the person intentionally fails or refuses

upon request to give the person's correct name, address or date of birth to a law

enforcement officer.” With respect to the first element, the Government argues that

there was probable cause to believe that Peavy-Wright violated 29-A M.R.S.A. §

2081(3-A) by not wearing a seatbelt.3 Trooper Duda and Sergeant Pappas both

testified that they observed Peavy-Wright sitting in the truck without a seatbelt on.

Peavy-Wright suggests that there was not probable cause to believe that he had

violated the seatbelt statute because neither officer saw him without a seatbelt on

while the truck was in motion.                 However, Trooper Duda saw Peavy-Wright not

wearing a seatbelt when he first approached the truck immediately after initiating

the traffic stop, which would suggest to a reasonably prudent person that Peavy-

Wright had not been wearing a seatbelt while the truck was moving mere seconds

before. Thus, there was probable cause to believe that Peavy-Wright had violated 29-

A M.R.S.A. § 2081(3-A), which establishes the first element of § 105(4).

        The question remains whether there was probable cause with respect to the

second element, i.e., whether there was probable cause to believe that Peavy-Wright

had “intentionally fail[ed] . . . to give [his] correct name, address, or date of birth” to


 3 29-A M.R.S.A. § 2081(3-A) provides, in pertinent part: “When a person 18 years of age or older is a passenger

in a vehicle that is required by the United States Department of Transportation to be equipped with seat belts,
the passenger must be properly secured in a seat belt. Each such passenger is responsible for wearing a seat belt
as required by this subsection . . . .”
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Sergeant Pappas or Trooper Duda prior to the search. See 29-A M.R.S.A. § 105(4).

Here, Peavy-Wright told Sergeant Pappas that he was from Kittery, Massachusetts,

which was false because Kittery is a town in Maine, not Massachusetts.           This

statement alone supports probable cause that Peavy-Wright intentionally failed to

give his correct address to Sergeant Pappas and thus violated § 105(4).

      The totality of the circumstances known to Sergeant Pappas and Trooper Duda

at the time of the search also establish that there was probable cause to believe that

Peavy-Wright had intentionally failed to give his correct name. The officers did not

know who Peavy-Wright was. Peavy-Wright had provided Sergeant Pappas with two

different last names, “Wright” and “Peavy-Wright.” When he gave Sergeant Pappas

his full last name, Peavy-Wright admitted that, on other occasions, officers had been

unable to locate him in law enforcement databases under the name “Wright” but had

been able to when they ran his full last name of “Peavy-Wright.” This admission

supports a reasonable inference that Peavy-Wright knew he was not giving his correct

name when he reported that his last name was “Wright.”

      Peavy-Wright was also associated with two different first names, “Louie” and

“Michael.” Though Peavy-Wright did state that “Louie” was a nickname referring to

his Louis Vuitton clothing, courts must consider “the whole picture” and may not

“dismiss outright any circumstances that [are] susceptible of innocent explanation.”

District of Columbia v. Wesby, 138 S. Ct. 577, 588 (2018) (quotations omitted).

Further, Sergeant Pappas had attempted to verify Peavy-Wright’s identity by

searching law enforcement databases for eighteen minutes but was unable to do so.

Sergeant Pappas also knew that Peavy-Wright had already lied about being from

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Kittery, Massachusetts, which supports a reasonable inference that he might be lying

about his name as well.

      Further, the totality of the circumstances suggest that Peavy-Wright had

reason to conceal his identity, which supports a reasonable inference that he was

lying about his name. At the time of the search, Trooper Duda knew that the truck

Peavy-Wright had been traveling in smelled of burnt marijuana and contained a glass

marijuana pipe. A trained police K-9 had alerted to the odor of narcotics on the truck,

giving the officers reason to believe that the truck contained contraband. Further,

the driver of the truck did not own the vehicle, was approximately five hours away

from her home address at 2:14 a.m., and was a suspect in an ongoing narcotics

investigation. Finally, the driver’s story about where she and the passengers had

come from and where they were going was not consistent with Peavy-Wright’s own

account of his travel plans: The driver stated that all the occupants had driven to

Kittery from Bangor and were heading back to Bangor, while Peavy-Wright reported

that he had been picked up in Portland and was going back to Portland. Taken

together, these facts would suggest to a reasonable officer that Peavy-Wright might

be associated with drug-related criminal activity, which supports the inference that

he might have reason to conceal his true identity. While this inference alone does not

establish probable cause, it does add to the totality of the circumstances supporting

probable cause.

      Though the officers later discovered that Peavy-Wright ultimately provided his

correct first name and middle name, his full last name, and his actual date of birth

before the search (albeit in a piecemeal fashion), that does not entitle Peavy-Wright

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to suppression of the evidence at issue. The existence of probable cause depends on

the facts known to the officers at the time of the challenged search, not on facts

discovered afterward. See Flores, 888 F.3d at 543−44; Rasberry, 882 F.3d at 250.

      Peavy-Wright asserts that the facts known to the officers at the time of the

search do not establish probable cause because he had done “everything possible to

make [Sergeant] Pappas believe he was telling the truth” when he provided his full,

hyphenated last name. ECF No. 51 at 7. Indeed, after providing his hyphenated last

name, Peavy-Wright reiterated that a search of Ohio records would verify his

identity, offered to share his social security number, shared information about a

previous encounter with the Portland Police Department, and corrected Sergeant

Pappas’s spelling of “Peavy-Wright.” While these facts do support a reasonable

inference that Peavy-Wright was truthful when he stated that his last name was

“Peavy-Wright,” they equally support a reasonable inference that he had knowingly

reported a false name earlier in the encounter, when he stated that his last name was

simply “Wright.” Thus, these facts do not negate probable cause as to the false name

portion of § 105(4). Nor do they negate probable cause as to the false address portion,

which arose when Peavy-Wright represented to Sergeant Pappas that he was from

Kittery, Massachusetts.

      Peavy-Wright further argues that the search and arrest were unjustified

because Sergeant Pappas arrested and searched him out of impatience and sheer

frustration over his inability to verify Peavy-Wright’s identity. But the existence of

probable cause to arrest is an objective inquiry: “[A]n arresting officer’s state of mind

. . . is irrelevant.” Devenpeck v. Alford, 543 U.S. 146, 153 (2004) (citing Whren v.

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United States, 517 U.S. 806, 812−13 (1996) and Arkansas v. Sullivan, 532 U.S. 769

(2001)). “That is to say, his subjective reason for making the arrest need not be the

criminal offense as to which the known facts provide probable cause.” Id.; accord

United States v. Favreau, 886 F.3d 27, 30 (1st Cir. 2018).

      Peavy-Wright also hints at, but does not fully develop, an argument that the

search was not incident to arrest because he was merely detained, not arrested, prior

to the search. However, he was effectively in custody at the time of the search and

was formally arrested shortly thereafter. “[W]hether a formal arrest occurred prior

to or followed ‘quickly on the heels’ of the challenged search does not affect the validity

of the search so long as the probable cause existed prior to the search.” United States

v. Bizier, 111 F.3d 214, 217 (1st Cir. 1997) (quoting Rawlings v. Kentucky, 448 U.S.

98, 111 (1980)).

      Thus, because Sergeant Pappas had probable cause to arrest Peavy-Wright for

violating § 105(4) prior to the search here, the search was justified under the Fourth

Amendment as a search incident to a lawful arrest for that offense. Accordingly, I do

not reach the Government’s alternative argument that there was independent

probable cause to arrest Peavy-Wright for possession of controlled substances prior

to the search.

B.    Patdown Search

      Peavy-Wright also argues that the drugs discovered during the full search of

his person must be suppressed because the initial patdown search was unreasonable

under the Fourth Amendment and “its shadow extends onto” the full search. Under

an exception to the warrant requirement first recognized in Terry v. Ohio, 392 U.S. 1

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(1968), a police officer “may frisk a suspect on reasonable suspicion that the suspect

is armed and dangerous.”       Rasberry, 882 F.3d at 249 (stating the standard);

Minnesota v. Dickerson, 508 U.S. 366, 372−73 (1993) (discussing Terry). The frisk, or

patdown, must be “carefully limited” to “the outer clothing of [the person] in an

attempt to discover weapons which might be used to assault [the officer].” United

States v. Belin, 868 F.3d 43, 49 (1st Cir. 2017) (quoting Terry, 392 U.S. at 30). Here,

Peavy-Wright argues that the patdown was unreasonable both because it was not

supported by reasonable suspicion and because it was more intrusive than a lawful

Terry frisk.

      But the patdown here was justified under another exception to the warrant

requirement: “the consent exception for cases where voluntary consent is given to the

search.” Mitchell, 139 S. Ct. at 2543. “[A] validly obtained and voluntary consent

renders a search or seizure reasonable, thus eliminating the need for a warrant.”

Pagán-González v. Moreno, 919 F.3d 582, 590 (1st Cir. 2019) (quotation omitted). “In

determining whether consent was voluntarily given, we look to the totality of

circumstances, including the person’s ‘age, education, experience, intelligence, and

knowledge of the right to withhold consent.’” United States v. Ramdihall, 859 F.3d

80, 89 (1st Cir. 2017) (quoting United States v. Forbes, 181 F.3d 1, 5 (1st Cir. 1999)).

Courts “also consider ‘whether the consenting party was advised of his or her

constitutional rights and whether permission to search was obtained by coercive

means or under inherently coercive circumstances.’” Id. (quoting Forbes, 181 F.3d at

5).



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      In Ramdihall, the First Circuit noted that “the fact of custody alone is never

enough to demonstrate coerced consent,” id. (quoting Forbes, 181 F.3d at 6), and

emphasized that “the voluntariness issue turns . . . not on whether [the defendant]

was detained, but on whether he was detained in a manner that precluded him from

freely consenting to the search.” Id. Because the defendant in Ramdihall had

consented to a search during an ordinary traffic stop where “there was never any

physical constraint, no handcuffing, no display of drawn weapons[, and] the character

of the interrogation was mild,” the court held that the consent was voluntary and the

search was therefore reasonable under the Fourth Amendment. Id.

      Here, there is no dispute that Peavy-Wright consented to the initial patdown.

The question is whether that consent was voluntarily given, and the totality of the

circumstances establishes that it was. Like the defendant in Ramdihall, Peavy-

Wright consented to the patdown during an ordinary traffic stop. Sergeant Pappas

had not handcuffed or otherwise physically restrained Peavy-Wright at that point,

nor had he engaged in deceptive or coercive interrogation techniques. He had simply

asked Peavy-Wright to provide his name and address and to step out of the truck.

Both of these requests were permissible. See United States v. Tanguay, 918 F.3d 1,

7 (1st Cir. 2019) (“In the ordinary course a police officer is free to ask a person for

identification without implicating the Fourth Amendment.”) (quoting Hiibel v. Sixth

Jud. Dist. Ct., 542 U.S. 177, 185 (2004)); United States v. Fernandez, 600 F.3d 56, 59

(1st Cir. 2010) (“[O]fficers may order the driver and any passengers to get out of the

car until the traffic stop is complete . . . .”) (citing Maryland v. Wilson, 519 U.S. 408,

415 (1997) and Pennsylvania v. Mimms, 434 U.S. 106, 111 & n.6 (1977)). Moreover,

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there is no evidence that Peavy-Wright’s age, intelligence, education, or experience

prevented him from giving voluntary consent. And though Sergeant Pappas did not

specifically advise Peavy-Wright of his right to refuse consent, that does not, on its

own, render consent involuntary. See United States v. Drayton, 536 U.S. 194, 206−07

(2002) (citing Schneckloth v. Bustamonte, 412 U.S. 218, 227 (1973)). Because the

patdown was consensual and therefore reasonable under the Fourth Amendment, I

do not decide whether the patdown was independently justified as a Terry frisk.

                                III. CONCLUSION

      For the foregoing reasons, Peavy-Wright’s motion to suppress (ECF No. 36) is

DENIED.


      SO ORDERED.

      Dated: November 14, 2019


                                                     /s/ JON D. LEVY
                                                CHIEF U.S. DISTRICT JUDGE




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